                                                                       FILED
                  UNITED STATES COURT OF APPEALS
                                                                        FEB 28 2020
                          FOR THE NINTH CIRCUIT                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




INNOVATION LAW LAB; CENTRAL                  No.   19-15716
AMERICAN RESOURCE CENTER OF
NORTHERN CALIFORNIA; CENTRO                  D.C. No. 3:19-cv-00807-RS
LEGAL DE LA RAZA; UNIVERSITY                 Northern District of California,
OF SAN FRANCISCO SCHOOL OF                   San Francisco
LAW IMMIGRATION AND
DEPORTATION DEFENSE CLINIC; AL
OTRO LADO; TAHIRIH JUSTICE                   ORDER
CENTER,

            Plaintiffs-Appellees,

v.

CHAD WOLF, Acting Secretary of
Homeland Security, in his official
capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; KENNETH T.
CUCCINELLI, Acting Director, U.S.
Citizenship and Immigration Services, in
his official capacity; ANDREW
DAVIDSON, Acting Chief of Asylum
Division, U.S. Citizenship and
Immigration Services, in his official
capacity; UNITED STATES
CITIZENSHIP AND IMMIGRATION
SERVICES; TODD C. OWEN, Executive
Assistant Commissioner, Office of Field
Operations, U.S. Customs and Border
Protection, in his official capacity; U.S.
CUSTOMS AND BORDER
PROTECTION; MATTHEW T.
ALBENCE, Acting Director, U.S.
Immigration and Customs Enforcement, in
his official capacity; US IMMIGRATION
AND CUSTOMS ENFORCEMENT,

           Defendants-Appellants.


Before: FERNANDEZ, W. FLETCHER, and PAEZ, Circuit Judges.

     Appellees’ motion for judicial notice (Dkt. Entry 36) is hereby GRANTED.




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